Case 1:23-cr-00239-CKK Document 212 Filed 01/22/25 Page 1 of 2
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UNITED STATES DISTRICT COURT 22, ata

FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
V.

No. 1:23-CR-239 (CKK)
ILYA LICHTENSTEIN, et al.,

Defendants.

THIRD-PARTY PETITIONERS iFINEX INC. AND BFXNA INC.’S MOTION FOR
TREVOR BONDY GOPNIK’S ADMISSION PRO HAC VICE

Pursuant to Criminal Local Rule 44.1(c), third-party petitioners iFinex Inc. and BFXNA
Inc., respectfully move for the admission and appearance of attorney Trevor Bondy Gopnik pro
hac vice in the above-captioned matter.

This motion is supported by the Declaration of Trevor Bondy Gopnik, filed herewith. As
set forth in the accompanying declaration, Trevor Bondy Gopnik is admitted, practicing, and a
member in good standing of the State Bar of New York. This motion is supported and signed by

Stephanie L. Brooker, an active and sponsoring member of the Bar of this Court.

Dated: January 16, 2025
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Apis

Stephanie L. Brooker

D.C. Bar No. 475321

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Counsel for Third-Party Petitioners iFinex Inc.
and BFXNA Inc.

Case 1:23-cr-00239-CKK Document 212 Filed 01/22/25 Page 2 of 2

CERTIFICATE OF SERVICE

I hereby certify that I caused a copy of the foregoing motion to be filed with the Clerk of
Court via email on January 16, 2025, and the Clerk's office will send a notice of the electronic
filing to all counsel of record in this case who have registered for the receipt of documents filed
in this manner. Pro se intervenor Francisco Cavazos was not served a paper copy pursuant to

Criminal Local Rule 40(d) because his address is not available.

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S

tephanie L. Brooker

